                   Case 20-12836-JTD             Doc 645         Filed 03/15/21        Page 1 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                             )       Chapter 11
    In re:                                                   )
                                                             )       Case No. 20-12836 (JTD)
    CRED INC., et al.,                                       )
                                                             )       (Jointly Administered)
                                                  1
                                       Debtors.              )
                                                             )       Re: Docket No. 643
                                                             )

                                 DECLARATION OF JOSEPH B. EVANS

             Under 28 U.S.C. § 1746, I, Joseph B. Evans, declare as follows under the penalty of

perjury:

             1.     I am a partner at McDermott Will & Emery LLP who represents the Official

Committee of Unsecured Creditors in In re Cred Inc., et al., No. 20-bk-12836 (the “Bankruptcy

Cases”). I submit this declaration in support of the Emergency Motion of the Official Committee

of Unsecured Creditors for an Order (I) Holding James Alexander in Contempt of Court and (II)

Issuing a Bench Warrant for the Arrest and Detention of James Alexander (the “Motion”),2

submitted contemporaneously herewith.

             2.     Attached hereto as Exhibit A is an accurate copy of the order granting the

temporary restraining order in the California action, Cred Inc. (f/k/a Cred LLC) and Cred

Capital, Inc. v. James Alexander, 20-CIV-02915 (the “California Action”).

             3.     Attached hereto as Exhibit B is an accurate copy of the order granting a

preliminary injunction in the California Action.



1
      The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification number,
      as applicable, are as follows: Cred Inc. (8268), Cred (US) LLC (5799), Cred Capital, Inc. (4064), Cred
      Merchant Solutions LLC (3150), and Cred (Puerto Rico) LLC (3566). The Debtors’ mailing address is 3 East
      Third Avenue, Suite 200, San Mateo, California 94401.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
               Case 20-12836-JTD       Doc 645      Filed 03/15/21    Page 2 of 3




       4.      Attached hereto as Exhibit C is an accurate copy of the Verified Complaint filed

in the California Action.

       5.      Attached hereto as Exhibit D is an accurate copy of the transcript of the February

5, 2021 hearing before this Court.

       6.      Attached hereto as Composite Exhibit E are accurate copies of Alexander’s

production regarding his Coinbase accounts.

       7.      Attached hereto as Exhibit F is an accurate copy of Alexander’s responses to

interrogatories.

       8.      Attached hereto as Exhibit G is an accurate copy of the relevant excerpts from

the February 9, 2021 Alexander deposition transcript.

       9.      Attached hereto as Exhibit H is an accurate copy of Alexander’s Wells Fargo

bank statements.

       10.     Attached hereto as Exhibit I is an accurate copy of the Stay Relief Motion.

       11.     Attached hereto as Exhibit J is an accurate copy of the transcript from the

February 16, 2021 hearing before the California Bankruptcy Court.

       12.     Attached hereto as Exhibit K is an accurate copy of the Stay Relief Order.

       13.     Attached hereto as Exhibit L is an accurate copy of the Alexander Declaration.

       14.     Attached hereto as Exhibit M is an accurate copy of the February 16, 2021 email

correspondence regarding the turnover of remaining Cred assets.

       15.     Attached hereto as Exhibit N is an accurate copy of the February 17, 2021 email

correspondence in response to Exhibit R.

       16.     Attached hereto as Exhibit O is an accurate copy of the February 7, 2021 email

correspondence regarding the Alexander Declaration.



                                                2
              Case 20-12836-JTD       Doc 645     Filed 03/15/21    Page 3 of 3




       17.    Attached hereto as Exhibit P is an accurate copy of the February 23, 2021

through March 14, 2021 email correspondence regarding Alexander’s noncompliance with the

Emergency Order.

       18.    Attached hereto as Exhibit Q is an accurate copy of the March 2, 2021 email

correspondence regarding Alexander’s production of discovery.

       19.    Attached hereto as Exhibit R is an accurate copy of February 6, 2021 email

correspondence regarding the Alexander Declaration and request for bank statements and

Coinbase information.

       20.    Attached hereto as Exhibit S is an accurate copy of the February 8-9, 2021 email

correspondence regarding Alexander’s use of Cred funds from his Wells Fargo account and the

request for documents and information in advance of the February 9, 2021 deposition.

       21.    Attached hereto as Exhibit T is an accurate copy of the February 8, 2021 email

correspondence regarding the Wells Fargo and JP Morgan transfer shortfalls.

       22.    Attached hereto as Exhibit U is an accurate copy of Alexander’s JP Morgan bank

statements.

       23.    Attached hereto as Exhibit V is an accurate copy of the February 7, 2021 email

correspondence regarding the incomplete Coinbase records and turnover of $664,518.29.

Executed on: March 15, 2021
New York, New York
                                                  /s/      Joseph B. Evans
                                                  Joseph B. Evans
                                                  Partner, McDermott Will & Emery LLP
                                                  340 Madison Avenue
                                                  New York, NY 10173-1922




                                              3
